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Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division; Sines, et al v. Kessler, et al; Case No: 3:17CV72; Date:
              2/21/19; Telephonic Discovery Hearing; Parties: 1. Joel C. Hoppe, USMJ; 2.
              Gabrielle Tenzer, 3. David Milles, 4. James Kolenich, 5. John DiNucci, 6. Bryan
              Jones, 7. David Campbell, Recorded by: Heidi N. Wheeler. Time in Court 28 min

Date          2/21/2019 Location [CVILLE-3FTR]
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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

   Time         Speaker                                       Note
3:06:02 PM    1
3:07:29 PM    2             Gabrielle Tenzer( With Michael Bloch and Yotam Barkai )
3:07:32 PM    3             David Milles
3:07:33 PM    4             James Kolenich
3:07:33 PM    5             John DiNucci
3:07:35 PM    6             Bryan Jones
3:07:36 PM    7             David Campbell
3:07:38 PM    1
3:08:35 PM    4
3:08:37 PM    1
3:09:41 PM    1             Issues in Tenzer's email regarding 3rd party vendor
3:10:10 PM    2,1
3:11:04 PM    2
3:11:26 PM    1,4
3:12:23 PM    1,5
3:13:26 PM    1,6
3:14:16 PM    1,2
3:15:09 PM    1,4
3:16:50 PM    1,4
3:17:49 PM    4
3:18:16 PM    1,4
3:18:43 PM    1,4
3:20:13 PM    1,2           documents / amounts
3:21:39 PM    1             deadline for production/procedure for disputes
3:22:20 PM    1,2
3:23:25 PM    1,4
3:24:01 PM    1,5
3:24:04 PM    1,6
3:24:10 PM    1,2           Twitter accounts addressed
3:25:30 PM    1
3:25:49 PM    2
3:25:59 PM    1,4
3:26:04 PM    1,5
3:26:15 PM    1,6
3:26:25 PM    1,7
3:26:40 PM    1,2           Issue of schedule
3:28:33 PM    1,2
3:29:25 PM    1
3:31:24 PM    2
3:31:59 PM    1
3:32:35 PM    7
3:33:22 PM    1


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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

3:33:31 PM    7
3:33:32 PM    1
3:34:01 PM    2
3:34:03 PM    1
3:34:04 PM    END




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